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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

JOHN C. STOJETZ,

               Petitioner,

       v.                                              Case No. 2:04-cv-263
                                                       JUDGE GREGORY L. FROST
TODD ISHEE, Warden,                                    Magistrate Judge Norah McCann King

               Respondent.

                                     OPINION AND ORDER

       Petitioner, a prisoner sentenced to death by the State of Ohio, has pending before this

Court a habeas corpus action under 28 U.S.C. §2254. This matter is before the Court upon

petitioner’s first motion for discovery (Doc. # 46), respondent’s memorandum in opposition

(Doc. # 52), and petitioner’s reply (Doc. # 44).

                                            I. Overview

       Petitioner was convicted and sentenced to death for the aggravated murder of seventeen-

year-old Damico Watkins while both were incarcerated at the Madison Correctional Institution

(“MaCI”). Petitioner and five other adult inmates who were members of, or associated with, the

Aryan Brotherhood, stormed the “Adams A” juvenile unit armed with shanks and took the

master keys from the corrections officer on duty, after which Watkins was stabbed several times

in his cell, chased around both floors of the juvenile unit, and stabbed repeatedly until he

collapsed and died on the upper range of the unit. Petitioner has at all times maintained that he

sought to fight Watkins while his accomplices prevented other inmates or prison officials from

intervening; however, he never intended to kill Watkins nor did he intend that any other inmates,

at his (petitioner’s) direction or of their own volition, kill Watkins. Petitioner argues that the
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discovery he seeks will assist him in proving claims of constitutional deprivation, specifically,

claims of ineffective assistance of counsel, prosecutorial misconduct, and actual innocence (both

as a free standing claim and as a gateway claim). According to petitioner, the discovery he seeks

will reveal evidence that contradicts the case that the prosecution presented at petitioner’s trial

demonstrating that petitioner ordered that Watkins be killed, and/or failed to stop Watkins from

being killed, and/or delivered some of the fatal knife blows himself. That evidence, petitioner

argues, will assist him in proving his constitutional claims of actual innocence, ineffective

assistance of counsel, and the withholding of material, exculpatory evidence by the prosecution.

       Respondent opposes petitioner’s discovery requests, arguing that petitioner cannot meet

the standards for habeas corpus discovery and that petitioner’s requests amount to an attempt to

retry his case in federal habeas corpus.

                                      II. Discovery Requests

       Petitioner’s expansive discovery requests fall into four categories: (1) records and

documents; (2) forensic, trace, and physical evidence; (3) statements and reports; and (4)

depositions. The Court sets forth petitioner’s requests verbatim below:

                                   1. Records and Documents

       A.    Madison Correctional Institution:

       (1) A complete inventory of all of the investigative files and inventory of the
       contents of the investigative files of the Madison Correctional Institution (MaCI)
       concerning its investigations(s) into the death of Damico Watkins and/or
       prosecutions of John Stojetz, his codefendants, accomplices or others for the
       murder of Damico Watkins, whether a part of criminal proceedings, internal
       security, disciplinary, or other review, civil proceedings, or other purposes,
       including but not limited to all photographs, videotapes, audiotapes, statements,
       interviews, depositions, reports, analysis, and other materials;

       (2)    A copy of the complete MaCI investigative files concerning its

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       investigation(s) into the death of Damico Watkins and/or the prosecutions of John
       Stojetz, codefendants, accomplices or others for the murder of Damico Watkins,
       whether a part of criminal proceedings, internal security, disciplinary, or other
       review, civil proceedings, or other purposes, including but not limited to all
       photographs, videotapes, audiotapes, statements, interviews, depositions, reports,
       analysis, and other materials;

       (3) Any and all records concerning Damico Watkins’ association in, or with
       gangs, or gang activities, in the possession of or accessible to MaCI, and
       including but not limited to all records, reports and files of all gang membership
       or gang activities of Damico Watkins at MaCI or elsewhere;

       (4) Any and all records and files concerning John Stojetz’s alleged association
       in, or with gangs, or gang activities, whether in the possession of or accessible to
       MaCI, and including but not limited to all records, reports and files of all gang
       membership or gang activities of John Stojetz at MaCI or elsewhere;

       (5) Any and all records and files concerning Jerry Bishop, David Lovejoy,
       Phillip Wierzack or Wierzgac, James R. Bowling and William Vandersommen
       alleged association in, or with gangs or gang activities, whether in the possession
       of or accessible to MaCI, and including but not limited to all record, reports and
       files of all gang membership or gang activities of Jerry Bishop, David Lovejoy,
       Phillip Wierzack or Wierzgac, James R. Bowling, and William Vandersommen at
       MaCI or elsewhere;

       (6) Any and all records concerning Doug Haggerty’s association in, or with
       gangs, or gang activities, in the possession of or accessible to MaCI, and
       including but not limited to all records, reports and files of all gang membership
       or gang activities of Doug Haggerty at MaCI or elsewhere;

       (7) Any and all records concerning security issues, altercations, fights, assaults,
       or other incidents involving Doug Haggerty at MaCI or elsewhere;

       (8) A complete list of all MaCI staff including but not limited to employees,
       correctional officers, counselors, administrative personnel, medical personnel,
       mental health specialists and others in April, 1996;

       (9)   The complete personnel files of MaCI staff members,

              a.   Corrections Officer Michael Browning,
              b.   Captain Tom Swyers,
              c.   Corrections Officer Jeff Jones,
              d.   Lieutenant Robinson,
              e.   Unit Manager Mark Stanley,

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              f.   Deputy Warden Mark Saunders,
              g.   Administrative Assistant Walt Ashbridge,
              h.   Corrections Officer Timothy Lee Follrod,
              I.   Sergeant Martha Crabtree,
              j.   Corrections Officer Barbara Sears,
              k.   Corrections Officer J.W. Wolverton,
              l.   Corrections Officer Shawn Vasser,
              m.    Corrections Officer Terry Campbell,
              n.   Corrections Officer Charles B. Krueger,
              o.   Sergeant Raymond Campbell,
              p.   Corrections Officer Fred R. Chesser,
              q.   Corrections Officer Michael Douds,
              r.   Corrections Officer Charles Grant Morgan, Jr.,
              s.   Corrections Officer John Vanover,
              t.   Corrections Officer Cooper,
              u.   Lieutenant/Corrections Officer Gerald L. Nelson,
              v.   Matthew Robert Meyer

       including records of complaints, investigations, reviews, performance reviews,
       evaluations, and security evaluations of said MaCI employees during the time
       period 1993-1998;

       (10) All time records of MaCI employees, staff and personnel on duty at MaCI
       for the period of April 20 through April 30, 1996, including but not limited to
       duty roster sheets, time cards, time clock records, entrance and exit records, sign
       in sheets, duty logs and employee time reports for each employee, staff member,
       or other MaCI personnel for said dates.

       (11) Records, papers, recordings, transcripts of recordings, and other materials
       of security reviews of inmates Jerry Bishop, David Lovejoy, Phillip Wierzack or
       Wierzgac, James R. Bowling and William Vandersommen held anytime on or
       after April 26, 1996;

       (12) Records, papers, recordings, transcripts of recordings, and other materials
       of Rules Infraction Board proceedings or other disciplinary reviews of Jerry
       Bishop, David Lovejoy, Phillip Wierzack or Wierzgac, James R. Bowling and
       William Vandersommen held anytime on or after April 26, 1996;

       (13) A complete list of every inmate in Adams Unit A during the month of
       April, 1996, including race, date of birth, social security number, ODRC inmate
       number, cell number, known or suspected gang affiliation, and current ODRC
       status.

       B.   The Ohio State Highway Patrol:

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       (1) A complete inventory of the investigative files and an inventory of the
       contents of the investigative files of the Ohio State Highway Patrol (OSHP)
       concerning its investigation(s) into the death of Damico Watkins and/or
       prosecutions of John Stojetz, his codefendants, accomplices or others for the
       murder of Damico Watkins whether a part of criminal proceedings, internal
       security, disciplinary, or other review, civil proceedings, or other purposes,
       including but not limited to all photographs, videotapes, audiotapes, statements,
       interviews, depositions, reports, analysis, and other materials;

       (2) The complete investigative file of the OSHP concerning its investigation(s)
       into the death of Damico Watkins and/or prosecutions of John Stojetz, his
       codefendants, accomplices or others for the murder of Damico Watkins whether a
       part of criminal proceedings, internal security, disciplinary, or other review, civil
       proceedings, or other purposes, including but not limited to all photographs,
       videotapes, audiotapes, statements, interviews, depositions, reports, analysis, and
       other materials;

       (3) Any and all records concerning Damico Watkins’ association in, or with
       gangs or gang activities, whether in the possession of or accessible to the OSHP,
       and including but not limited to all records, reports and files of all gang
       membership and gang activity of Damico Watkins at MaCI or elsewhere;

       (4) Any and all records and files concerning John Stojetz’s alleged association
       in, or with gangs or gang activities, whether in the possession of or accessible to
       the OSHP, and including but not limited to all records, reports and files of all
       gang membership or gang activities of John Stojetz at MaCI or elsewhere;

       C.   The Ohio Bureau of Criminal Identification and Investigation:

       (1) A complete inventory of the investigative files and inventory of the contents
       of the investigative files of the Ohio Bureau of Criminal Identification and
       Investigation (BCII) concerning the investigation(s) into the death of Damico
       Watkins and/or prosecutions of John Stojetz, his codefendants, accomplices or
       others for the murder of Damico Watkins, whether a part of criminal proceedings,
       internal security, disciplinary, or other review, civil proceedings, or other
       purposes, including but not limited to all photographs, videotapes, audiotapes,
       statements, interviews, depositions, reports, analysis, and other materials;

       (2) The complete investigative file of the BCII concerning its investigation(s)
       into the death of Damico Watkins and/or prosecutions of John Stojetz, his
       codefendants, accomplices or others for the murder of Damico Watkins, whether
       a part of criminal proceedings, internal security, disciplinary, or other review,
       civil proceedings, or other purposes, including but not limited to all photographs,
       videotapes, audiotapes, statements, interviews, depositions, reports, analysis, and

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       other materials;

       (3) The complete investigative file of the BCII laboratory, or any other state or
       private laboratory or forensic examiner, concerning the investigation(s) into the
       death of Damico Watkins and/or prosecutions of John Stojetz, his codefendants,
       accomplices or others for the murder of Damico Watkins, whether a part of
       criminal proceedings, internal security, disciplinary, or other review, civil
       proceedings, or other purposes, including but not limited to all photographs,
       videotapes, audiotapes, statements, interviews, depositions, reports, analysis, and
       other materials;

       (4) Any and all records concerning Damico Watkins/ association in, or with
       gangs or gang activities, whether in possession of or accessible to the BCII, and
       including but not limited to all records, reports and files of all gang membership
       or gang activities of Damico Watkins at the MaCI or elsewhere;

       (5) Any and all records and files concerning John Stojetz’s alleged association
       in, or with gangs or gang activities, whether in the possession of or accessible to
       the BCII, and including but not limited to all records, reports and files of all gang
       membership or gang activities of John Stojetz at the MaCI or elsewhere;

       D.   The Ohio Department of Rehabilitation and Corrections:

       (1) A complete inventory of the investigative files and inventory of the contents
       of the investigative files of the Ohio Department of Rehabilitation and
       Corrections (ODRC) concerning the investigation(s) into the death of Damico
       Watkins and/or prosecutions of John Stojetz, his codefendants, accomplices or
       others for the murder of Damico Watkins, whether a part of criminal proceedings,
       internal security, disciplinary, or other review, civil proceedings, or other
       purposes, including but not limited to all photographs, videotapes, audiotapes,
       statements, interviews, depositions, reports, analysis, and other materials;

       (2) The complete investigative files of the ODRC concerning the investigation
       into the death of Damico Watkins and/or prosecutions of John Stojetz, his
       codefendants, accomplices or others for the murder of Damico Watkins, whether
       a part of criminal proceedings, internal security, disciplinary, or other review,
       civil proceedings, or other purposes, including but not limited to all photographs,
       videotapes, audiotapes, statements, interviews, depositions, reports, analysis, and
       other materials;

       (3) Any and all records concerning Damico Watkins’ alleged association in, or
       with gangs or gang activities, whether in the possession of or accessible to the
       ODRC, and including but not limited to all records, reports and files of all gang
       membership or gang activities of Damico Watkins at MaCI or elsewhere;

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       (4) Any and all records and files concerning John Stojetz’s alleged association
       in, or with gangs or gang activities, whether in the possession of or accessible to
       the ODRC, and including but not limited to all records, reports and files of all
       gang membership or gang activities of John Stojetz at MaCI or elsewhere;

       (5) Any and all records and files concerning Jerry Bishop, David Lovejoy,
       Phillip Wierzack or Wierzgac, James R. Bowling and William Vandersommen
       alleged association in, or with gangs or gang activities, whether in the possession
       of or accessible to the ODRC, and including but not limited to all records, reports
       and files of all gang membership or gang activities of Jerry Bishop, David
       Lovejoy, Phillip Wierzack or Wierzgac, James R. Bowling, and William
       Vandersommen at the MaCI or elsewhere;

       (6) Any and all records concerning Doug Haggerty’s association in, or with
       gangs, or gang activities, in the possession of or accessible to ODRC, and
       including but not limited to all records, reports and files of all gang membership
       or gang activities of Doug Haggerty at MaCI or elsewhere;

       (7) Any and all records concerning security issues, altercations, fights, assaults,
       or other incidents involving Doug Haggerty at MaCI or elsewhere;

       (8) Records, papers, recordings, transcripts of recordings, and other materials
       of security reviews of inmates Jerry Bishop, David Lovejoy, Phillip Wierzack or
       Wierzgac, James R. Bowling and William Vandersommen held anytime on or
       after April 26, 1996;

       (9) Records, papers, recordings, transcripts of recordings, and other materials
       of Rules Infraction Board proceedings or other disciplinary reviews of Jerry
       Bishop, David Lovejoy, Phillip Wierzack or Wierzgac, James R. Bowling and
       William Vandersommen held anytime on or after April 26, 1996;

       (10) A complete list of every inmate in Adams Unit A during the month of
       April, 1996, including race, date of birth, social security number, ODRC inmate
       number, cell number known or suspected gang affiliation, and current ODRC
       status.

       (11)   The complete ODRC personnel files of MaCI staff members,

              a.   Corrections Officer Michael Browning;
              b.   Captain Tom Swyers
              c.   Corrections Officer Jeff Jones,
              d.   Lieutenant Robinson,
              e.   Unit Manager Mark Stanley,
              f.   Deputy Warden Mark Saunders,

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              g.   Administrative Assistant Walt Ashbridge,
              h.   Corrections Officer Timothy Lee Follrod,
              I.   Sergeant Martha Crabtree,
              j.   Corrections Officer Barbara Sears,
              k.   Corrections Officer J.W. Wolverton,
              l.   Corrections Officer Shawn Vasser,
              m.    Corrections Officer Terry Campbell,
              n.   Corrections Officer Charles B. Krueger,
              o.   Sergeant Raymond Campbell
              p.   Corrections Officer Fred R. Chesser,
              q.   Corrections Officer Michael Douds,
              r.   Corrections Officer Charles Grant Morgan, Jr.,
              s.   Corrections Officer John Vanover,
              t.   Corrections Officer Cooper,
              u.   Lieutenant/Corrections Officer Gerald L. Nelson,
              v.   Matthew Robert Meyer

       including records of complaints, investigations, reviews, performance reviews,
       evaluations, and security evaluations of said MaCI employees during the time
       period 1993-1998;

       E.   The Franklin County and Madison County Coroners’ Offices:

       (1) A complete inventory of the files and an inventory of the contents of the
       files of the Franklin County Coroner’s Office and the Madison County Coroner’s
       Office concerning the investigation into the death of Damico Watkins and the
       prosecutions of John Stojetz, his codefendants, accomplices or others for the
       murder of Damico Watkins, whether a part of criminal proceedings, internal
       security, disciplinary, or other review, civil proceedings, or other purposes,
       including but not limited to all autopsy and pathology records of any sort,
       including raw notes, reports, tests and test results, photographs, x-rays, histology
       reports, videotapes, audiotapes, statements, interviews, depositions, reports,
       analyses, and other materials and all other documentation regarding examination
       of the body of the deceased, Damico Watkins;

       (2) A complete copy of all files of the Franklin County Coroner’s Office and
       the Madison County Coroner’s Office concerning the investigation into the death
       of Damico Watkins and prosecutions of John Stojetz, his codefendants,
       accomplices or others for the murder of Damico Watkins, whether a part of
       criminal proceedings, internal security, disciplinary or other review, civil
       proceedings, or other purposes, including but not limited to all autopsy and
       pathology records of any sort, including raw notes, reports, tests and test results,
       photographs, x-rays, histology reports, videotapes, audiotapes, statements,
       interviews, depositions, reports, analyses, and other materials and all other

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       documentation regarding examination of the body of the deceased, Damico
       Watkins.

       F.   The Madison County Prosecuting Attorney:

       The complete records and files of the Madison County Prosecuting Attorney
       Stephen J. Pronai and Assistant Prosecuting Attorney Daniel A. Huston, their
       successors, investigators and staff concerning the investigation(s) into the death
       of Damico Watkins and/or prosecutions of John Stojetz, his codefendants,
       accomplices or others for the murder of Damico Watkins, whether a part of
       criminal proceedings, internal security, disciplinary, or other review, civil
       proceedings, or other purposes, including but not limited to all photographs,
       videotapes, audiotapes, statements, interviews, depositions, reports, analysis, and
       other materials.

       G.   Other State, Local and Federal Law Enforcement Authorities:

       (1) All inventories of evidence and lists of all evidence, including but not
       limited to forensic evidence and physical evidence, obtained, seized, examined,
       created, used, or otherwise referenced, by any state, local or federal law
       enforcement agency in the investigation(s) into the death of Damico Watkins
       and/or prosecutions of John Stojetz, his codefendants, accomplices or others for
       the murder of Damico Watkins, whether a part of criminal proceedings, internal
       security, disciplinary, or other review, civil proceedings, or other purposes,
       including but not limited to all photographs, videotapes, audiotapes, statements,
       interviews, depositions, reports, analysis, and other materials;

       (2) All inventories of statements and lists of all statements, including but not
       limited to statements obtained from witnesses, employees of the MaCI, the
       OSHP, the ODRC, the BCII, the State of Ohio or other state, local or federal law
       enforcement agencies, or from fact witnesses, suspects, defendants, codefendants
       or accomplices during the investigation(s) into, or prosecutions of John Stojetz,
       codefendants, accomplices or others for the murder of Damico Watkins, whether
       a part of criminal proceedings, internal security, disciplinary, or other review,
       civil proceedings, or other purposes, including but not limited to all photographs,
       videotapes, audiotapes, statements, interviews, depositions, reports, analysis, and
       other materials;

       (3) An inventory of all items of evidence, papers, depositions, statements,
       pleadings, settlement papers, discovery, and all other materials pertaining to any
       legal action involving the ODRC, OSHP, the BCII, the State of Ohio, and/or any
       political subdivision or individual, brought by or on behalf of Damico Watkins,
       his estate, and/or his family arising from the death of Damico Watkins, including
       but not limited to all photographs, videotapes, audiotapes, statements, interviews,

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       depositions, reports, analysis, and other materials;

       (4) A complete copy of all items of evidence, papers, depositions, statements,
       pleadings, settlement papers, discovery, and all other materials pertaining to any
       legal action involving the ODRC, OSHP, the BCII, the State of Ohio, and/or any
       political subdivision or individual, brought by or on behalf of Damico Watkins,
       his estate, and/or his family arising from the death of Damico Watkins, including
       but not limited to all photographs, videotapes, audiotapes, statements, interviews,
       depositions, reports, analysis, and other materials. This request includes but is not
       limited to Watkins v. State of Ohio, Southern District of Ohio, Case No. 2:96-cv-
       00515, and Kimberly Watkins v. Dept. of Rehabilitation and Corrections, Court of
       Claims Case No. C 1996-05874 and Case No. C 1998-10760.

       H.    Court Records

       (1) The complete trial file, including but not limited to transcripts, pleadings,
       motions, evidence, and other materials, of the following proceedings arising from
       the death of Damico Watkins:

       (a)    State v. Jerry Bishop; Madison County Common Pleas, Case No. 96CR-
              10-087;

       (b)    State v. David Lovejoy; Madison County Common Pleas, Case No. 97CR-
              06-043;

       (c)    State v. Phillip Wierzack or Wierzgac; Madison County Common Pleas,
              Case No. 97CR-06-044;

       (d)    State v. James R. Bowling; Madison County Common Pleas, Case No.
              97CR-06-045;

       (e)    State v. William Vandersommen; Madison County Common Pleas, Case
              No. 97CR-06-046;

       (2) A complete copy of the individual juror’s notes taken during the trial of
       John Stojetz;

       (3) A complete copy of the individual juror’s notes taken during the trials of
       Jerry W. Bishop and James Bowling.

                          2. Forensic, Trace, and Physical Evidence

       A.     (1) An inventory of all items of evidence located at, near or from
              the scene of the murder of Damico Watkins, including, but not

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             limited to, any and all trace evidence, weapons, blood samples,
             clothing, shoe prints or shoe impressions, finger prints or finger
             impressions, palm prints or palm impressions, writings, chalk
             outlines, line of sight creations or recreations, and any and all other
             physical evidence seized or seized and discarded wheresoever
             situated;

             (2) Access to all items of evidence located at, near or from the
             scene of the murder of Damico Watkins, including, but not limited
             to, any and all trace evidence, weapons, blood samples, clothing,
             shoe prints or shoe impressions, finger prints or finger impressions,
             palm prints or palm impressions, writings, chalk outlines, line of
             sight creations or recreations, and any and all other physical
             evidence seized or seized and discarded wheresoever situated.

       B.    (1) An inventory of all audio recordings, video recordings, or
             combined audio/video recordings, photographs, diagrams, or notes
             depicting or describing the crime scene, the body of Damico
             Watkins, the recovery of the body of Damico Watkins, the
             gathering of physical, forensic or trace evidence during or after the
             investigation into the death of Damico Watkins;

             (2) Copies of all audio recordings, video recordings, or
             combined audio/video recordings of depicting or describing the
             crime scene, the body of Damico Watkins, the recovery of the
             body of Damico Watkins, the gathering of physical, forensic, or
             trace evidence during or after the investigation into the death of
             Damico Watkins.

                                 3. Statements and Reports

       A.    (1) An inventory of all interviews, interrogations, questioning,
             inquiries, or statements made, taken or otherwise obtained during
             of since the investigation or prosecutions of John Stojetz, his co-
             defendants, accomplices or others for the death of Damico
             Watkins, said inventory to include but not limited to, all statements
             of witnesses, investigators or employees of MaCI, the OSHP, the
             BCII, or the ODRC, or other state, local or federal law
             enforcement agencies, and whether fact witnesses, suspects,
             defendants, codefendants, accomplices or others;

             (2) Copies of all interviews, interrogations, questioning,
             inquiries, or statements made, taken or otherwise obtained during
             or since the investigation or prosecutions of John Stojetz, his co-

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             defendants, accomplices or others for the death of Damico
             Watkins, said copies to include but not limited to, all statements of
             witnesses, investigators or employees of the MaCI, the OSHP, the
             BCII, or the ODRC, or other state, local or federal law
             enforcement agencies, and whether fact witnesses, suspects,
             defendants, codefendants, accomplices or others.

       B.    (1) An inventory of all reports of all investigators, law
             enforcement agents, employees, staff, or personnel of MaCI, the
             OSHP, the BCII, or the ODRC, or other law enforcement
             authorities, concerning the investigation into the death of Damico
             Watkins, and whether contained in notes, raw notes, summaries,
             hand writings, typed writings, audio recordings, video recordings
             or combined audio / video recordings, letters, emails or email
             attachments, computer discs or other electronic format or any other
             form;

             (2) Copies of all reports of all investigators, law enforcement
             agents, employees, staff, or personnel of MaCI, the OSHP, the
             BCII, or the ODRC, or other law enforcement authorities,
             concerning the investigation into the death of Damico Watkins,
             and whether contained in notes, raw notes, summaries, hand
             writings, typed writings, audio recordings, video recordings or
             combined audio / video recordings, letters, emails or email
             attachments, computer discs or other electronic format or any other
             form.

                                       4. Depositions

       A.    The prosecutors who prosecuted or otherwise participated in the
             prosecution of this case, including but not limited to, Madison
             County Prosecutor Stephen J. Pronai and Madison County
             Assistant Prosecutor Daniel A. Huston;

       B.    Madison County Court of Common Pleas, Criminal Court Clerk,
             regarding the preservation, loss or destruction of exhibits and
             physical evidence in this case;

       C.    ODRC or Madison Correctional Institution, Officers and Staff:

             (1)   Corrections Officer Michael Browning;
             (2)   Corrections Officer John Vanover;
             (3)   Administrative Assistant Walt Ashbridge;
             (4)   former Lieutenant / Corrections Officer Gerald Nelson;

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                (5)      Matthew Robert Meyer

        D.      Ohio State Highway Patrol Investigators:

                (1)      Trooper Alan Wheeler;
                (2)      Trooper Ron Nichols;
                (3)      Trooper Rick Downey;
                (4)      Criminalist Jeffrey William Turnau;
                (5)      Sergeant Timothy Tuttle;

        E.      Petitioner’s Attorneys:

                (1)      Attorney James A. Doughty;
                (2)      Attorney Jon A. Doughty;
                (3)      Attorney John J. Gideon;
                (4)      Attorney Cordelia a. Glenn;

        F.      ODRC and MaCI Inmates or Former Inmates:

                (1)      John Wierzgac; (Phillip?)
                (2)      James R. Bowling;
                (3)      Jerry W. Bishop;
                (4)      William Vandersommen;
                (5)      David Hicks;
                (6)      David Lovejoy;
                (7)      Douglas Haggerty;
                (8)      Prentiss Williams;
                (9)      John McDermott;
                (10)     Alfonso J. Greer;
                (11)     Andre Wright;
                (12)     Sidney Taylor;
                (13)     Roman D. Ward;
                (14)     Brandon Hill.

        Further depositions may be necessary as discovery continues.

 (Doc. # 46, at 2-13.)

                                          III. Applicable Law

        The discovery processes contained in the Federal Rules of Civil Procedure do not

 automatically apply in habeas corpus actions. "A habeas petitioner, unlike the usual civil litigant


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 in federal court, is not entitled to discovery as a matter of ordinary course." Bracy v. Gramley,

 520 U.S. 899, 904 (1997). In Harris v. Nelson, 394 U.S. 286, 295 (1969), the United States

 Supreme Court held that the "broad discovery provisions" of the Federal Rules of Civil

 Procedure did not apply in habeas corpus proceedings. As a result of Harris, Rule 6(a) of the

 Rules Governing Section 2254 Cases In United States District Courts was promulgated in 1976

 to establish a “good cause” standard for discovery. Specifically, Rule 6(a) provides:

          A party shall be entitled to invoke the processes of discovery available under the
          Federal Rules of Civil Procedure if, and to the extent that, the judge in the
          exercise of his discretion and for good cause shown grants leave to do so, but not
          otherwise.

 Under this "good cause" standard, a district court should grant leave to conduct discovery in

 habeas corpus proceedings only “‘where specific allegations before the court show reason to

 believe that the petitioner may, if the facts are more fully developed, be able to demonstrate that

 he is ... entitled to relief....’” Bracy, 520 U.S. at 908-909 (quoting Harris, 394 U.S. at 300). See

 also Stanford v. Parker, 266 F.3d 442, 460 (6th Cir. 2001).

          The discovery that petitioner seeks relates primarily to three of his habeas claims, i.e.,

 actual innocence, ineffective assistance of counsel, and the withholding by prosecutors of

 material, exculpatory evidence in violation of his due process rights as set forth in Brady v.

 Maryland, 373 U.S. 83, 87 (1963).1 Petitioner argues that he is actually innocent of the charge

 of aggravated murder, as well as of a charge that warrants the imposition of the death penalty.

 He raises his actual innocence claim both as a free-standing constitutional claim and a “gateway”


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                    Petitioner also makes passing references to a claim that his death sentence is invalid and arbitrary
 (Doc. # 46, at 23), to claims of violations of due process (Id.), and to allegations that the Madison County Clerk of
 Courts may have destroyed various items of evidence from this case before the matter arrived in federal court (Id.).
 Further, petitioner attempts in his reply to establish a nexus between his discovery requests and nearly all of his
 claims; but that nexus is tenuous at best.

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 claim allowing the Court to review the merits of claims that would otherwise be barred by

 procedural default. He argues that he is actually innocent because he never intended for Watkins

 to be killed, never ordered anyone to kill Watkins, and never delivered any of the knife wounds

 that killed Watkins.

        The essence of petitioner’s claim of ineffective assistance of counsel, as it relates to the

 instant discovery requests, is that counsel took no steps to investigate or support the defense that

 they promised at petitioner’s trial to present. (Petition, Doc. # 14-3, at ¶¶ 95-97.) According to

 petitioner, attorneys Jon and James Doughty planned to defend petitioner on the theory that his

 involvement in the murder of Watkins was the direct result of petitioner’s belief that Watkins

 had attacked another juvenile inmate (Doug Haggerty), whom petitioner had sought to protect,

 and had announced an intent to attack and kill petitioner and other members of the Aryan

 Brotherhood gang to which petitioner belonged, and that petitioner never intended for Watkins

 or anyone else to be killed. (Id., at ¶ 96.) “Despite the clear intent to defend on these theories

 counsel took no steps to investigate these theories or to present any evidence to support this

 defense.” (Id., at ¶ 97.) Petitioner asserts that counsel abdicated their duty to investigate and

 present a defense by relying entirely on the evidence that the prosecution provided during

 discovery, failing to conduct any investigation of their own, and neglecting to interview any of

 the state’s witnesses or witnesses that petitioner asked them to interview. This failure, according

 to petitioner, deprived him of witnesses who would have directly supported trial counsel’s

 claimed defense.

        For purposes of the instant discovery requests, petitioner argues that the prosecution

 violated his due process rights as set forth in Brady v. Maryland, 373 U.S. 83, 87 (1963), by


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 misrepresenting the facts as to petitioner’s motivation for, and role in, the incident and then

 withholding evidence in its possession that would have proved the falsehood of its case.

 (Petition, Doc. # 14-12, at ¶ 607.) Petitioner argues that it was revealed during state

 postconviction proceedings that the prosecution provided to petitioner’s defense counsel an

 edited version of the 22-page report of Ohio State Highway Patrol Sergeant Downey–i.e., the

 state’s official document of evidence, witnesses, and investigative results–and that the 15-page

 version that defense counsel received omitted references to statements by juvenile inmates

 Sidney Taylor, Brandon Hill, and Roman Ward that would have exculpated petitioner. (Petition,

 Doc. # 14-12, at ¶¶ 609-618.) Petitioner further argues that the stated reasons for providing the

 edited version, i.e., security concerns and protecting attorney work product, were “shams”

 because the prosecution subsequently provided the full, unedited version of Sergeant Downey’s

 report to petitioner’s co-defendants (Bowling and Bishop) before their trials. (Id., at ¶¶ 612-

 613.) Consistent throughout petitioner’s memorandum in support of his discovery motion is his

 assertion that the prosecution failed to provide discoverable evidence that was inconsistent with

 its theory of the case and exculpatory to petitioner.

        In order to determine whether petitioner is entitled to conduct discovery on his claims,

 the Court initially must identify the essential elements of his claims. See Bracy, 520 U.S. at 904.

 Assuming without deciding that a freestanding claim of actual innocence is cognizable in federal

 habeas corpus, it appears that a petitioner would have to “convince a court that new facts

 unquestionably establish” his innocence. Hartman v. Bagley, 333 F. Supp.2d 632, 652 (N.D.

 Ohio 2004), citing Schlup v. Delo, 513 U.S. 298, 316 (1995). That is, a petitioner would have to

 present a “truly persuasive demonstration of ‘actual innocence,’” and the “threshold showing for


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 such an assumed right would necessarily be extraordinarily high.” Herrera v. Collins, 506 U.S.

 390, 417 (1993); see also House v. Bell, 126 S.Ct. 2064, 2086-87 (2006).2 Petitioner need not

 prove these elements in order to justify discovery; rather, he must show that, if the facts are

 developed through the discovery he seeks, he could prove a constitutional violation and would

 be entitled to relief. See Harris, supra, 394 U.S. at 299.

          As for the essential elements of petitioner’s ineffective assistance of counsel claims, the

 right to counsel guaranteed by the Sixth Amendment is the right to the effective assistance of

 counsel. McMann v. Richardson, 397 U.S. 759, 771 n.14 (1970). The standard for reviewing a

 claim of ineffective assistance of counsel is twofold:

          First, the defendant must show that counsel’s performance was deficient. This
          requires showing that counsel made errors so serious that counsel was not
          functioning as the “counsel” guaranteed the defendant by the Sixth Amendment.
          Second, the defendant must show that deficient performance prejudiced the
          defense. This requires showing that counsel's errors were so serious as to deprive
          the defendant of a fair trial, a trial whose result is unreliable.

 Strickland v. Washington, 466 U.S. 668, 687 (1984). With respect to the first prong of the

 Strickland test, this Court notes that, "[b]ecause of the difficulties inherent in making the

 evaluation, a court must indulge a strong presumption that counsel's conduct falls within the

 wide range of reasonable professional assistance." Id. at 689.

          To establish the second prong of the Strickland test, i.e., prejudice, a petitioner must

 demonstrate that there is a reasonable probability that, but for counsel's errors, the result of the

 proceedings would have been different. Id. at 694. "A reasonable probability is a probability



          2
                    Several courts have hinted that this dictum in Herrera left open the possibility of entertaining in
 federal habeas corpus a freestanding claim of actual innocence even following a state trial otherwise free of
 constitutional error. See, e.g., Hartman v. Bagley, supra, 333 F.Supp.2d at 653; Madrigal v. Bagley, 276 F.Supp.2d
 744, 758 (N.D. Ohio 2003), aff’d 413 F.3d 548 (6th Cir. 2005).

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 sufficient to undermine confidence in the outcome." Id. Because petitioner must satisfy both

 prongs of the Strickland test to demonstrate the ineffective assistance of counsel, should the

 Court determine that Petitioner has failed to satisfy one prong, it need not consider the other. Id.

 at 697.

           Inherent in counsel’s responsibilities is the duty to investigate. “[C]ounsel has a duty to

 make reasonable investigations or to make a reasonable decision that makes particular

 investigations unnecessary.” Strickland, supra, 466 U.S. at 691; Sims v. Livesay, 970 F.2d 1575,

 1580-81 (6th Cir. 1992); see also O’Hara v. Wigginton, 24 F.3d 823, 828 (6th Cir. 1994)(failure

 to investigate, especially as to key evidence, must be supported by a reasoned and deliberate

 determination that investigation was not warranted); Workman v. Tate, 957 F.2d 1339, 1345-46

 (6th Cir. 1992)(reasonable investigation was lacking, so counsel’s performance was deficient).

           Regarding the essential elements of a Brady claim, the rule in Brady requires the

 government “to turn over evidence in its possession that is both favorable to the accused and

 material to guilt or punishment.” Pennsylvania v. Ritchie, 480 U.S. 39, 57 (1987). In Giglio v.

 United States, 405 U.S. 150, 154 (1972), the Supreme Court went on to hold that the Brady rule

 includes evidence that might impeach the credibility of state witnesses. Materiality is

 determined by asking “whether the Brady violation undermines confidence in the verdict,

 because there is a reasonable probability that there would have been a different result had the

 evidence been disclosed.” Coe v. Bell, 161 F.3d 320, 344 (6th Cir. 1998). Again, petitioner

 need not prove these elements; rather, he must show that if the facts are developed through the

 discovery he seeks, he could prove a Brady violation and would be entitled to relief. See Harris,

 supra, 394 U.S. at 299.


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        The letter and spirit of Habeas Corpus Rule 6 and Bracy call for discovery requests to be

 specific and limited. The instant discovery requests cannot be characterized as either. In

 keeping with the well settled principle that habeas petitioners are not entitled to go on a fishing

 expedition in search of damaging evidence, the “good cause” standard of Rule 6 requires

 petitioner to at least attempt to identify what he expects to uncover through his discovery

 requests. See Williams v. Bagley, 380 F.3d 932, 976 (6th Cir. 2004). With respect to Brady

 claims and proving that discovery is warranted thereon, the Court is mindful of the difficulties

 inherent in describing what facts the petitioner hopes to uncover or develop from materials that

 were never disclosed in the first place. But these difficulties do not relieve petitioner of his duty

 to state with some specificity what he intends to find or prove from his discovery requests.

 Pleading a claim under Brady does not automatically entitle a petitioner to unfettered,

 unqualified access to the government’s files in the hopes that he will find something useful. See,

 e.g., Rich v. Calderon, 187 F.3d 1064, 1067 (9th Cir. 1999) (habeas corpus “was never meant to

 be a fishing expedition for habeas petitioners to ‘explore their case in search of its existence.’”

 (quoting Aubut v. State of Maine, 431 F.2d 688, 689 (1st Cir. 1970)).

        It also bears mentioning that whether and to what extent petitioner is entitle to federal

 habeas corpus discovery might be, contrary to what petitioner asserts in his reply memorandum

 (Doc. # 55, at 3), informed by the diligence that he exercised in developing the facts underlying

 his constitutional claims in the state courts. In Holland v. Jackson, 542 U.S. 649, 653 (2004), the

 Supreme Court held that the restrictions on factual development set forth in 28 U.S.C. §

 2254(e)(2) apply when a petitioner seeks to present new evidence not considered by the state

 courts, whether he seeks to present that new evidence through an evidentiary hearing or


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 expansion of the record pursuant to Rule 7 of the Rules Governing Section 2254 Cases.3 This

 Court is aware of at least one case in which Holland’s holding was extended to prohibit a

 discovery request that appeared to be fashioned as “an end run around the restrictions of Rule 7

 as interpreted by Holland v. Jackson, 542 U.S. 649 (2004).” Stallings v. Bagley, Case No. 505-

 CV-722, 2007 WL 437888 (N.D. Ohio Feb. 6, 2007), at *2. Thus, in determining whether

 petitioner has satisfied the “good cause” standard for discovery, this Court must keep in mind

 that–to the extent that petitioner seeks to introduce new evidence to demonstrate that he is

 entitled to relief on his constitutional claims, i.e., to demonstrate that the state courts’ decisions

 rejecting those claims were contrary to or involved unreasonable applications of clearly

 established Federal law as determined by the Supreme Court, 28 U.S.C. § 2254(d)(1)–he must

 demonstrate that the failure to develop that new evidence in the state courts was not the result of

 his failure to exercise due diligence. See, e.g., Williams (Michael) v. Taylor, 529 U.S. 420, 430-

 32 (2000). To the extent, however, that petitioner seeks to present new evidence for purposes

 other than demonstrating that he is entitled to relief on his constitutional claims, such as

 attempting to satisfy the cause-and-prejudice or “actual innocence” exceptions to procedural

 default, then presumably petitioner would not be required to demonstrate that he exercised due

         3
                  Section 2254(e)(2) of Title 28 of the United States Code provides:

                 (2) If the applicant has failed to develop the factual basis of a claim in State court
         proceedings, the court shall not hold an evidentiary hearing on the claim unless the applicant
         shows that–

                   (A) the claim relies on–
                   (i) a new rule of constitutional law, made retroactive to cases on collateral review by the
         Supreme Court, that was previously unavailable; or
                   (ii) a factual predicate that could not have been previously discovered through the
         exercise of due diligence; and
                   (B) the facts underlying the claim would be sufficient to establish by clear and convincing
         evidence that but for constitutional error, no reasonable factfinder would have found the applicant
         guilty of the underlying offense.

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 diligence in attempting to develop the new evidence in state court proceedings. See Cristin v.

 Brennan, 281 F.3d 404, 417 n.14 (3rd Cir. 2002) (suggesting that the standard adopted in §

 2254(e)(2) does not apply to evidentiary hearings on whether a petitioner can establish an excuse

 for an earlier procedural default); see also Boyko v. Parke, 259 F.3d 781, 790 (7th Cir. 2001)

 (finding that § 2254(e)(2) should not be applied when expansion of the record is sought for

 purposes other than introducing new evidence on the merits of a claim).

        With all of these principles in mind, the Court will examine each of petitioner’s

 discovery requests.

                                            IV. Discussion

                                    A. Records and Documents

        1. Files concerning the death of Damico Watkins. Petitioner seeks an inventory of the

 files, an inventory of the contents of those files, and a copy of the complete files relating to the

 death of Damico Watkins and/or the prosecutions of petitioner and any others for that death,

 whether a part of criminal proceedings, internal security, disciplinary, or other review, civil

 proceedings, or other purposes. He seeks such records from Madison Correctional Institute

 (MaCI), the Ohio State Highway Patrol (OHSP), the Ohio Bureau of Criminal Identification and

 Investigation (BCII), the Ohio Department of Rehabilitation and Correction (ODRC), and the

 Franklin County and Madison County coroners’ offices.

        Petitioner has not demonstrated “good cause” for these discovery requests. One reason

 that petitioner advances in his memorandum in support of his discovery requests in this regard is

 to dispute the State’s theory that petitioner carried a particular knife that delivered some of the

 fatal wounds. Petitioner argues that it was shown during his postconviction proceedings that the


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 knife in question was given to a codefendant before the lethal blows were struck. The Court

 disagrees. Evidence developed in postconviction on this issue was, at best, conflicting. Further,

 even assuming that were not the case, he fails to establish a suitable nexus between that

 contention and the sweeping nature of his discovery requests. Codefendant William

 Vandersommen testified in a postconviction deposition that he had the longest knife when the

 group entered the Adams A unit and that petitioner took it from him only after he had stabbed

 the victim a few times in the victim’s cell. (Tr. Vol. IX, Tab 3, at 43-46.) Codefendant Philip

 Wierzgac said in a statement that he provided pursuant to his own plea, as well as during

 testimony in the trial of codefendant James Bowling, that petitioner had the longest knife and

 that he had had it from the outset, before the group entered the Adams A unit. (App.Vol. IV, at

 241-43, 365-66.) Further, C.O. Michael Browning testified at the postconviction hearing that he

 was certain that petitioner held up a knife to him and demanded the keys to the cells in Adams A

 unit. (Tr.Vol. VIII, Tab 2, at 6.) In short, this particular contention by petitioner does not

 provide good cause for petitioner’s expansive discovery requests.

        Petitioner also offers in his reply memorandum as a justification for these materials that

 “[i]t is doubtful that any one investigator or prosecutor in this matter has reviewed all of the

 records and documents from all of the agencies involved.” (Doc. # 55, at 7.) Even assuming

 that is true, it does not establish good cause for petitioner to do so now. Petitioner must provide

 a specific justification for the materials that he seeks. See Williams v. Bagley, supra, 380 F.3d

 at 974 (holding that Rule 6 does not permit fishing expeditions based on conclusory allegations).

        Petitioner notes in his memorandum in support and in his reply memorandum that the

 OSHP was involved in taking statements from numerous witnesses, including MaCI personnel


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 and inmates. Petitioner speculates that some statements that may have exculpated him were not

 turned over to defense counsel during pretrial discovery. (Doc. # 46, at 5.) In his memorandum

 in support, petitioner not only points to statements by juvenile inmates Roman Ward and

 Brandon Hill, but also asserts that the State had in its possession evidence demonstrating the

 guilt of codefendants William Vandersommen and Jerry Bishop. However, petitioner offers no

 basis for concluding that the statements by Ward and Hill were not provided to defense counsel

 during pretrial discovery; moreover, a review of those statements does not reveal them to be as

 exculpating as petitioner suggests. Further, evidence developed during state postconviction

 proceedings, contrary to petitioner’s assertion, did not conclusively establish the guilt of

 Vandersommen and Bishop, and the concomitant innocence of petitioner.

        It is true that Roman Ward could not say that he ever saw petitioner stabbing the victim,

 but he did say that petitioner had the biggest knife in his hand and was shouting out orders to the

 white inmates who had stormed the Adams A unit. (App.Vol. IV, at 302.) It is also true that

 Brandon Hill stated that he saw only codefendant Bishop chase and stab the victim; but Hill also

 stated that he deliberately looked away during much of the incident. (App.Vol. IV, at 74, 140.)

 Notwithstanding the inculpating statements by Vandersommen, set forth in an affidavit and

 deposition that petitioner submitted in postconviction, and the evidence of Bishop’s guilt from

 Bishop’s trial, which petitioner submitted in postconviction, there was still more than sufficient

 evidence in postconviction of petitioner’s role in the murder. As an example, the trial court

 summarized the statements of thirty juvenile inmate witnesses who were able to describe

 petitioner’s role in the incident; the trial court also noted that four other juvenile inmate

 witnesses identified petitioner by description, although not by name, as having participated in the


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 murder. (App.Vol. V, at 204-210.)

        Ohio State Highway Patrol lead investigator, Trooper Rick Downey, testified during

 petitioner’s postconviction hearing that transcripts of all interviews of the inmates that were

 conducted after the incident had been provided to defense counsel. (Tr.Vol.. VIII, Tab 1, at

 258.) The trial court undertook a painstaking review of this “unprecedented” open discovery

 that the State provided (App.Vol. V, at 265) and noted, among other things, that all of the inmate

 witnesses’ statements had been provided to defense counsel. (App.Vol. V, at 217.) Petitioner

 makes much of the fact that a comparison of Trooper Downey’s full investigative report with the

 redacted report that was provided to defense counsel during pretrial discovery reveals that

 references to certain inmates’ statements had been redacted, allegedly for security reasons,

 (Tr.Vol.. VIII, at 262-273). This fact, however, does not change or diminish the fact that all of

 the inmate witness statements themselves had been provided to defense counsel. There is simply

 no reason to conclude from this particular contention by petitioner that the OSHP withheld

 exculpatory evidence from petitioner’s defense counsel.

        Petitioner suggests quite generally in his reply memorandum that the materials he seeks

 will demonstrate conflicts in the evidence as found by investigators but not revealed to

 petitioner’s defense counsel for use at trial. (Doc. # 55, at 7.) Petitioner fails to elaborate on the

 nature of the allegedly conflicting evidence, but the Court would note, as did the trial court in its

 decision rejecting petitioner’s postconviction claims, (App.Vol. V, at 273), that because of the

 nature of the incident and the limited view that the juvenile inmate witnesses had of the incident

 as it was unfolding, it is not at all surprising that the inmate witnesses would have provided

 conflicting or fragmented accounts of what took place. In light of all of the statements, incident


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 reports, photographs, and other evidence that were provided during pretrial discovery, petitioner

 has not established good cause to believe that his current discovery requests “will demonstrate

 the conflicting evidence found by investigators but not revealed to Petitioner’s defense counsel

 for use at trial.” (Doc. # 55, at 7.)

         With respect to the request for materials from BCII, petitioner states in his memorandum

 in support that, because neither his trial counsel nor his postconviction counsel specifically

 requested all relevant investigative and laboratory records, petitioner is now entitled to these

 records in federal habeas corpus. Petitioner is mistaken. Petitioner opines that the requested

 records from BCII will enable him to demonstrate that the offense did not occur as the

 prosecution had claimed, but petitioner offers no basis for that conclusion. Moreover, the

 essentially conflicting versions of how the offense occurred are found almost exclusively in

 witness statements collected primarily by OSHP investigators. Thus, petitioner has not offered

 good cause to justify investigative and laboratory records from BCII. See, e.g., Sherman v.

 McDaniel, 333 F. Supp. 2d 960, 967 (D. Nevada 2004) (rejecting as insufficient to establish

 good cause a “generic claim” that trial counsel conducted inadequate discovery and independent

 investigation).

         Petitioner also requests the files of the Madison County and Franklin County coroners’

 offices. He supports this request by asserting that the hit and miss methods employed by his trial

 and postconviction attorneys, as well as the refusal of the state courts to grant him funds for a

 forensic defense pathologist, offer no guarantee that he received all of the materials sought by

 him in an effort to fully investigate the circumstances of the death of the victim. In his reply

 memorandum, petitioner expands that he is entitled to the files in order to attack a key


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 component of the state’s case against him–namely, that he allegedly carried and used the weapon

 identified as causing the fatal wounds. None of these assertions establish good cause for the files

 that petitioner now seeks. He offers no specific justification for these materials or any reason to

 believe that they would provide evidence, or would lead to evidence, that would bolster his

 constitutional claims. The evidence that was produced at trial, and subsequently explored during

 state postconviction proceedings, concerning whether petitioner carried the knife that caused

 some of the fatal wounds consisted of eyewitness accounts, not forensic evidence. Petitioner has

 not demonstrated, and it is not otherwise apparent to the Court, how the files of the Madison

 County Coroner and Franklin County Coroner are necessary or warranted to enable him to attack

 this component of the state’s case against him.

        2. Records concerning gang activities at MaCI. Petitioner seeks records concerning

 the following individuals’ association in or with gangs or gang activities while at MaCI or

 elsewhere: Damico Watkins, Petitioner Stojetz, Jerry Bishop, David Lovejoy, Phillip Wierzgac,

 James Bowling, and William Vandersommen. He seeks such records from MaCI, OSHP, BCII,

 and ODRC.

        Petitioner has not demonstrated good cause for these materials because he has not

 explained what, if anything, he hopes to prove that is not already sufficiently reflected in the

 record. Petitioner explains in his memorandum in support:

        Evidence of the gang activities of Watkins would demonstrate the high level of
        hostility of his gang, The Folks, toward members of the Aryan Brotherhood and,
        in particular, the petitioner. This evidence will demonstrate the predicament in
        which the petitioner found himself, substantiate the plan to respond to lethal
        threats by Watkins by “fighting” Watkins, and Stojetz’s lack of intention to cause
        Watkins’ death.

 (Doc. # 46, at 17.) Petitioner further explains in his reply memorandum that the events leading

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 up to the death of Damico Watkins were set in motion by Watkins himself and his gang at MaCI,

 and that the murder of Watkins was the direct result of the unwillingness of the MaCI staff and

 ODRC to address the violence at MaCI and other prisons. Having thoroughly reviewed the

 record in this case, the Court is not persuaded that the materials that petitioner seeks in this

 regard are necessary or that the facts he seeks to prove are in dispute. The evidence produced at

 trial, along with evidence developed during petitioner’s state postconviction proceedings,

 sufficiently established that Watkins had some affiliation or connection with a gang of black

 juvenile inmates at MaCI and that there was a considerable amount of hostility between that

 group and the Aryan Brotherhood in general and petitioner in particular.

        Both deputy Warden Mark Saunders and Administrative Assistant Walt Ashbridge

 testified at petitioner’s trial that it was learned after the incident that Watkins was a member of

 or associated with “The Folks.” (Tr.Vol. V, at 659, 683-84.) Juvenile inmate Alfonso Greer, on

 the other hand, testified that he was not aware of Watkins’s association with a gang. (Tr.Vol. IV,

 at 592.) Administrative Assistant Walt Ashbridge also presented testimony at petitioner’s trial

 about the presence and monitoring of gangs at MaCI. (Tr.Vol. V, at 677-685.)

        Petitioner was able to develop and present considerable testimony and evidence during

 his state postconviction proceedings in support of his contentions that Watkins was affiliated or

 associated with a gang of other black juvenile inmates, that there was tension between that gang

 and petitioner’s own Aryan Brotherhood gang, that administrators at MaCI were unable or

 unwilling to confront the juvenile gangs, and that petitioner had intended only to fight Watkins

 on the day of the incident in order to answer what petitioner had perceived as lethal threats from

 Watkins and other black juvenile inmates with whom he associated. The Court will not attempt


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 to summarize all of that evidence and testimony but, as an example, petitioner stated as much in

 one of his postconviction affidavits as well as his postconviction testimony. (App.Vol. IV, at 31-

 33; Tr.Vol.VIII, Tab 1, at 289-398.) Kevin Fulkerson recounted in an affidavit and a deposition

 that, on the morning of the incident, he had overheard (and relayed to petitioner) juvenile

 inmates Andre Wright and Damico Watkins attempting to recruit other black juvenile inmates to

 join them in attacking petitioner and other members of the Aryan Brotherhood at or shortly after

 lunch time. (App.Vol. IV, at 53-54; Tr.Vol. IX, Tab 4, at 24-31.) In his postconviction

 proceedings, petitioner offered a transcript of the testimony of Administrative Assistant Walt

 Ashbridge at codefendant Bishop’s trial, concerning the presence and monitoring of gangs at

 MaCI, (App.Vol. IV, at 124-133). Petitioner called Ashbridge during his postconviction hearing

 again to question him about gang activities at MaCI, (Tr.Vol. VIII, Tab 1, at 276-288).

 Corrections Officers Matthew Robert Meyer and John Vanover also provided testimony during

 petitioner’s postconviction hearing about gang presence at MaCI. Codefendants Bowling and

 Vandersommen stated in affidavits and depositions that, among other things, the “plan” that day

 was only for petitioner to fight Watkins and to have the others with him guard against other

 inmates or correction officers interfering with the fight. (App.Vol. IV, at 40, 56; Tr.Vol. IX, Tab

 1 and Tab 3.) Also presented during petitioner’s postconviction proceedings was evidence that

 petitioner’s codefendants/accomplices were members of, or at least associated with, the Aryan

 Brotherhood.

        Without making any factual findings at this point, the Court is satisfied that the record

 regarding the gang activities and related topics is sufficiently developed. The Court is also

 satisfied that petitioner has not advanced a sufficient justification for the records that he seeks.


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 See, e.g., Hughes v. Phillips, 457 F. Supp. 2d 343, 366 (S.D.N.Y. 2006) (“‘Good cause’ certainly

 cannot lie when the predicate facts were already developed in State proceedings....”).

        3. Records concerning juvenile inmate Doug Haggerty. At petitioner’s trial and

 during his state postconviction proceedings there was evidence purporting to establish that

 petitioner and his accomplices stormed the Adams A unit that day to avenge an attack on Doug

 Haggerty the night before, allegedly at the hands of one or several black juvenile inmates, one of

 whom may have been Damico Watkins. Haggerty was a white juvenile inmate whose father had

 allegedly asked petitioner to protect. Petitioner seeks records concerning Haggerty’s affiliation

 with gangs or gang activities at MaCI or elsewhere, as well as records concerning security

 issues, altercations, fights, assaults, or other incidents involving Haggerty at MaCI or elsewhere.

 Petitioner does not advance a single justification for the discovery materials that he seeks, and

 none is apparent to the Court. The records that petitioner seeks concerning Doug Haggerty

 would not, in this Court’s view, contain any information relevant to petitioner’s constitutional

 claims and petitioner has not advanced a single reason to believe otherwise. See Stanford v.

 Parker, supra, 266 F.3d at 460 (“The burden of demonstrating the materiality of information

 requested is on the moving party.”).

        4. Personnel records of members of MaCI staff. Petitioner makes a sweeping request

 for personnel records of MaCI staff. He requests a complete list of all MaCI staff in April 1996;

 the complete personnel files of twenty-two named staff members, (Doc. # 46, at 3), for the time

 period 1993-1998; and all time records, duty roster sheets, entrance and exit records, and sign in

 sheets of all staff on duty at MaCI for the time period of April 20 through April 30, 1996. He

 seeks these records from MaCI and, in part, from ODRC.


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        Petitioner fails to offer a single justification for these requests in his memorandum in

 support. In his reply memorandum, he asserts that the records will help him establish that many

 of the staff members who were not called by the State to testify were in a position to observe his

 actions leading up to, during, and after the incident, and that many of the staff members who

 were called by the State could not have been in a position to observe or know about the matters

 to which they testified. (Doc. # 55, at 8.) Petitioner does not advance a shred of evidence to

 support this supposition. Consequently, his request for these records strikes this Court as the

 classic “fishing expedition” that is not permitted in federal habeas discovery. See Williams v.

 Bagley, supra, 380 F.3d at 974 (“‘Conclusory allegations are not enough to warrant discovery

 under [Rule 6]; the petitioner must set forth specific allegations of fact.’” (quoting Ward v.

 Whitley, 21 F.3d 1355, 1367 (5th Cir. 1994)).

        5. Records concerning proceedings against codefendants/accomplices. Petitioner

 requests from MaCI and ODRC records concerning the security status or disciplinary reviews of,

 or Rules Infraction Board proceedings against, petitioner’s codefendants/accomplices–Jerry

 Bishop, David Lovejoy, Phillip Wierzgac, James R. Bowling, and William Vandersommen–held

 any time on or after April 26, 1996. In neither his memorandum in support nor his reply

 memorandum does petitioner advance a single justification for such materials, and none is

 otherwise apparent to the Court. See, e.g., Stanford v. Parker, supra, 266 F.3d at 460 (“The

 burden of demonstrating the materiality of information requested is on the moving party.”).

        6. Inmates in Adams A Unit. Petitioner also requests from MaCI and ODRC a

 complete list of every inmate in the Adams A unit during the month of April 1996, including

 race, date of birth, social security number, ODRC inmate number, cell number, known or


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 suspected gang affiliation, and current ODRC status. In neither his memorandum in support nor

 his reply memorandum does petitioner advance a single justification for such materials, and none

 is otherwise apparent to the Court. Investigators interviewed every juvenile inmate witness who

 was physically present in the Adams A unit at the time of the incident. Authorities provided

 transcripts and/or summaries of those interviews to petitioner’s defense attorneys during pretrial

 discovery and petitioner has not advanced a reasonable basis for concluding otherwise. Further,

 it appears that a list of every juvenile inmate who was physically present in Adams A during the

 incident was submitted as an exhibit during petitioner’s postconviction hearing, (App.Vol. VI, at

 61), and that the same was in fact provided to petitioner’s defense attorneys during pretrial

 discovery on February 4, 1997, (App.Vol. V, at 203). That being so, this Court can conceive of

 no justification for this discovery request. See, e.g., Stanford v. Parker, supra, 266 F.3d at 460

 (“The burden of demonstrating the materiality of information requested is on the moving

 party.”).

         7. All prosecution and governmental files. Petitioner makes a sweeping request for

 materials from the Madison County prosecuting attorney and other state, local, and federal law

 enforcement agencies. First, petitioner requests the complete records and files of the Madison

 County Prosecuting Attorney regarding the investigation of the death of Damico Watkins and/or

 the prosecutions of petitioner and his codefendants/accomplices. From “Other State, Local,

 [and] Federal Law Enforcement Authorities,” petitioner requests all inventories and lists of

 evidence, all inventories and lists of statements stemming from the investigation of the death of

 Damico Watkins and/or the prosecution of petitioner and his codefendants/accomplices, and an

 inventory and complete copy of any papers, evidence, or other materials pertaining to any legal


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 action brought by or on behalf of the estate of Damico Watkins.

        In support of this request, petitioner asserts in his memorandum in support that he

 demanded from the inception of his case a thorough examination of all evidence and leads to

 evidence, and that “his trial attorneys gave short shrift to his demands.” (Doc. # 46, at 20.)

 Petitioner goes on to argue that “events subsequent to his trial have proven his suspicions of

 withholding of evidence prescient,” and petitioner provides as an example “the submission of

 statements by codefendants Vandersommen and Bishop admitting that the plan was to ‘fight

 Watkins’ and not kill him, but that they ‘went berserk’ and stabbed him to death, contrary to the

 understanding of all involved.” (Doc. # 46, at 21.) The Court is not persuaded that petitioner’s

 argument satisfies the “good cause” standard for the sweeping discovery request set forth above.

        The state trial court issued a comprehensive decision in excess of one-hundred pages

 addressing petitioner’s postconviction claims in which, among other things, it recounted in

 painstaking detail every piece of evidence that the prosecution turned over to petitioner’s defense

 attorneys during pretrial discovery. (App.Vol. V, at 198-212.) The trial court stated that the

 discovery provided by the prosecution was far broader and in greater detail than what is

 contemplated by the rules of criminal procedure, going so far as to say, “I am unaware of any

 case in which the State provided a complete summary of accounts of the event from every single

 witness. The State’s open discovery was unprecedented.” (Id., at 265.) Petitioner’s suggestion

 that statements by codefendants Vandersommen and Bishop provide examples of withholding of

 evidence by the prosecution is specious. Neither was willing to speak to investigators nor did

 either provide statements following the incident. In postconviction, petitioner submitted the

 affidavit of Vandersommen dated February 23, 1998 (App.Vol. IV, at 40), and the deposition of


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 Vandersommen that took place on September 8, 1999 (Tr.Vol. VIII, at Tab 3). It does not

 appear that petitioner submitted in his postconviction proceedings any affidavit, testimony, or

 statement by Bishop. Petitioner did submit as an exhibit a letter by Bishop to an individual

 named Kathy, dated August 30, 1996, stating, among other things, “10 niggers jump one of my

 friends and was going to jump me, so I got him first.” (App.Vol. IV, at 47.) Petitioner does not

 explain, and it is not apparent to the Court, how the prosecution could have improperly withheld

 from petitioner at his original trial in April 1997 a statement that post-dated petitioner’s trial and

 was generated through petitioner’s own initiative. That being so, petitioner’s argument in this

 regard fails to establish good cause for his request for records from the prosecuting attorney and

 other law enforcement agencies. The Court recognizes that neither Bracy nor Rule 6 requires a

 petitioner to plead specific facts entitling him to habeas relief in order to obtain leave to conduct

 discovery. But the discovery that the Supreme Court authorized in Bracy was specific and

 limited, even if the petitioner’s theory, at that point, was not supported by solid evidence. Bracy

 v. Gramley, supra, 520 U.S. at 908-909. The same simply cannot be said of petitioner’s instant

 request for the records of the prosecuting attorney and other law enforcement agencies.

        8. Court records. Petitioner’s next discovery request concerns court records not only

 from his case but also from those of all of his codefendants/accomplices. Petitioner requests

 “[t]he complete trial file, including but not limited to transcripts, pleadings, motions, evidence,

 and other materials” of the proceedings arising from the death of Damico Watkins against each

 of his codefendants/accomplices, to wit: Jerry Bishop, David Lovejoy, Phillip Wierzgac, James

 R. Bowling, and William Vandersommen. In addition, petitioner requests a complete copy of

 each individual juror’s notes taken during his trial, as well as during the trials of Jerry Bishop


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 and James Bowling.

        In his memorandum in support, the only justification that petitioner sets forth for this

 request was the same one that he advanced for his request for records from the prosecuting

 attorney and other law enforcement agencies–namely, that statements by Vandersommen and

 Bishop submitted by petitioner during postconviction offers support for the contention that the

 State withheld evidence. (Doc. # 46, at 7-8.) The Court has already considered and rejected that

 argument as insufficient to establish “good cause,” especially when offered for such broad

 discovery requests.

        Beyond that argument, petitioner explains in his reply memorandum that he has raised

 claims challenging not only his counsel’s performance, but also the trial court’s instructions and

 explanations, during the general and death penalty questioning of the venire. Petitioner then

 explains that the court records he seeks will assist him in “demonstrat[ing] that the jurors who sat

 in judgment of him had a misconception of his defense–if any had actually been presented,

 confusion over what to expect in evidence and mitigation at trial, a misconception of the

 appropriate circumstances in which a death verdict might be returned, confusion over the burden

 of proof, and evidence of the individual juror’s bias, prejudice and misunderstanding of the

 burdens of proof, and upon whom those burdens actually rested as a matter of law.” (Doc. # 55,

 at 10.) Petitioner has not established any nexus between this stated purpose and the overly broad

 request for every shred of paper and every piece of evidence connected to the cases against every

 one of his codefendants/accomplices. Thus, his request for those court files is unwarranted.

 Similarly, petitioner has not shown, and it is not otherwise apparent to the Court, how individual

 juror’s notes from the trials of Bishop and Bowling would shed any light on petitioner’s claims


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 challenging the conduct of petitioner’s defense counsel and the trial court during the voir dire in

 petitioner’s trial.

         As for petitioner’s request for each individual juror’s notes from his own trial,

 petitioner’s counsel’s performance and the trial court’s instructions and explanations are of

 record and available to petitioner without the discovery he seeks. He has advanced no reason

 whatsoever to believe that the individual juror’s notes from his own trial might contain any

 information that would assist him in demonstrating that he is entitled to relief on his third claim

 for relief or in demonstrating cause and prejudice to excuse those parts of his third claim for

 relief that are subject to procedural default. It bears reminding that habeas corpus is not a

 proceeding to learn new facts or build a case. Cf. Harris v. Nelson, supra, 394 U.S. at 297

 (holding that broad-ranging inquiry is neither necessary nor appropriate in habeas corpus

 proceedings).

                            B. Forensic, Trace, and Physical Evidence

         Petitioner also requests a host of trace and physical evidence. He seeks an inventory of,

 and access to, all items of evidence from or near the scene of the murder of Damico Watkins; he

 asks for a inventory of, and access to, all recordings, photographs, diagrams, or other notes

 depicting or describing the crime scene, the victim’s body, the recovery of the body, or the

 gathering of evidence.

         In support of this request, petitioner states in his memorandum in support that any

 determination of his constitutional claims, particularly of his various claims of actual innocence,

 requires a careful examination of the physical evidence. He suggests that trace evidence from

 the body of the decedent could identify the characteristics of the assailant, the weapon that


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 inflicted the lethal wounds, and the manner and order in which those wounds were delivered.

 (Doc. # 46, at 21.) He further suggests that trace evidence near the scene is critical to any

 evaluation of the circumstances of the offense, “as they could be evaluated to identify the person

 or persons who left the door to the Adams Unit A cell block open.” (Id.) In his reply

 memorandum, petitioner goes on to offer as a justification for these discovery requests the fact

 that he was never afforded his own forensic defense experts to assist him in examining the

 evidence “in the hope of obtaining proof of his claim that he neither intended to kill Watkins nor

 that he wielded the knife the witnesses placed in his hands, or at least cast doubt on those

 claims.” (Doc. # 55, at 11.)

        Understanding that petitioner has never had the benefit of forensic expert to assist him in

 the examination of the forensic, trace, and physical evidence in this case, the Court is

 nonetheless constrained to find that petitioner has not advanced a single reason to believe that

 the gathering or production of evidence in his case was suspect, that any evidence was withheld

 from him, or that any such evidence could even arguably assist him in supporting his

 constitutional claims. That being so, petitioner has not demonstrated good cause for this

 discovery request.

        In its decision addressing petitioner’s postconviction claims, the state trial court noted

 that the Court Administrator had received all of the discovery that petitioner’s defense attorneys

 had received during pretrial preparation and that the trial court would be utilizing that

 information in its determination of petitioner’s postconviction claims. (App.Vol. V, at 202-203.)

 The trial court’s exhaustive summary of the pretrial discovery in petitioner’s case, which this

 Court will not recount herein, reveals that the State provided an abundance of physical evidence,


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 including photographs, diagrams, blueprints, video tapes, audio recordings, laboratory reports,

 and inventories and descriptions of physical evidence. (App.Vol. V, at 203-204, 210-212.) A

 review of the record from petitioner’s postconviction proceedings, during which he had, and

 availed himself of, the opportunity for extensive factual development of the record, reveals no

 reasonable basis for believing that any relevant physical evidence, much less exculpating

 physical evidence, was withheld from petitioner’s trial counsel.

          Further, petitioner has not explained, and it is not otherwise apparent to the Court, how

 the evidence that he requests could assist him in supporting his constitutional claims. Trace

 evidence, contrary to petitioner’s hope, is unlikely to help petitioner “identify the characteristics

 of any assailant, the weapon which ultimately inflicted the lethal wounds, and the manner and

 order in which those wounds were inflicted.” (Doc. # 46, at 21.) Franklin County Coroner, Dr.

 Keith Norton, testified that the victim suffered forty stab wounds, six of which were lethal and

 could alone have caused death. (Tr.Vol. IV, at 520, 525-26.) The prosecution introduced as

 evidence six knives that were recovered from petitioner and his codefendants/accomplices

 immediately following the incident. (Tr.Vol. IV, at 534-36.) The State attempted, through Dr.

 Norton’s testimony, to tie only two of the six lethal wounds to the knife that numerous witnesses

 put in petitioner’s hand4–the longest of the six knives, i.e., State’s Exhibit 3. (Tr.Vol. IV, at 540-

 41.) That said, Dr. Norton testified that it was just as likely that any of the other six knives could


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                    The following eyewitnesses testified to having seen State’s Exhibit 3 in petitioner’s hand at some
 point during the incident: C.O. Michael Browing (Tr.Vol. IV, at 568); C.O. Timothy Follrod (Tr.Vol. V, at 766);
 C.O. J.W. Wolverton (Tr.Vol. V, at 785-86); and C.O. Charles Krueger (Tr.Vol. VI, at 914, 917). Several other
 eyewitnesses testified that petitioner had the longest knife, but those witnesses were not asked to identify the knife
 by its exhibit number. See, e.g., MaCI Sergeant Martha Crabtree, Tr.Vol. V, at 774. Deputy Warden Mark Saunders
 also identified during trial which knife he had seen in petitioner’s hand, but it is difficult to discern, from the precise
 nature of the question and answer in the transcript, which of the six knives, i.e., State’s Exhibits 2 - 7, it was (Tr.Vol.
 V, at 657).

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 have caused four of the other lethal wounds. (Id., at 543.) So even assuming that any trace

 evidence could undermine Dr. Norton’s testimony about the two lethal wounds that were

 attributed to the long knife that petitioner was seen carrying–an assumption for which petitioner

 has provided no reasonable basis–that fact does not strike this Court as exculpatory. Regarding

 petitioner’s dispute about whether or when, during the incident, he was wielding the knife that

 was attributed to him, the forensic evidence he requests is unlikely to shed any light on this

 question, given the testimony by the BCII latent print examiner, Russell McSaveny, that no

 fingerprints were found on any of the knife handles and that this was not surprising to him, given

 the various surfaces of those knife handles. (Tr.Vol. V, at 703-707.)

        Finally petitioner’s assertion that trace or physical evidence could assist him in

 “identify[ing] the person or persons who left the door to the Adams Unit A cell block open,”

 (Doc. # 46, at 21), cannot be characterized as anything but unfounded. Petitioner Stojetz

 testified during his postconviction hearing, as did codefendants/accomplices James Bowling and

 William Vandersommen in their depositions, that the door to the Adams A unit was propped

 open by a pop can. (Tr.Vol. VIII, Tab 1, at 330; Tr.Vol. IX, Tab 1, at 40-41; Tr.Vol. IX, Tab 3,

 at 33.) Petitioner purports to have produced as an exhibit, i.e., Exhibit BB, to his postconviction

 action a photograph of a pop can near the door of the Adams A unit shortly after the incident, but

 no such photograph appears in the record before this Court. (App.Vol. IV, at 186.) Testimony

 was also produced, however, suggesting that it might not have been unusual for the outer door to

 the Adams A unit to be closed but unlocked. See, e.g., C.O. Michael Browning, Tr.Vol. IV, at

 573; C.O. Gerald Nelson, Tr.Vol. VIII, Tab 2, at 18-19. Petitioner has not specified what he

 hopes to find from any trace or physical evidence that might shed further light on this subject,


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 much less how he hopes to find it. This request amounts to nothing more than the fishing

 expedition that is simply not permitted in federal habeas discovery. Williams v. Bagley, supra,

 380 F.3d at 974. For the foregoing reasons, the Court concludes that petitioner has failed to

 demonstrate good cause for the forensic, trace, and physical evidence that he seeks.

                                    C. Statements and Reports

        Petitioner also requests statements and reports, including an inventory and copies of all

 statements and all reports concerning the investigation of the death of Damico Watkins and/or

 the prosecutions of petitioner, his codefendants/accomplices, or any others. He seeks these

 records from MaCI, OSHP, BCII, ODRC, or any other state, local, or federal law enforcement

 agencies.

        In support of this request, petitioner questions the investigations and interviews actually

 conducted, and the reports actually generated. For instance, petitioner argues that although there

 were approximately 130 juvenile inmates who were housed in Adams A unit at the time of the

 incident and questioned by investigators that day, the State called only three to testify. Petitioner

 argues the statements and reports that he requests are critical to his claims of actual innocence,

 ineffective assistance of counsel, and prosecutorial misconduct under Brady “[g]iven the already

 known evidence of the confessions of Vandersommen and Bishop as the actual killers....” (Doc.

 # 46, at 22.) He goes on to argue in his reply memorandum that “even the most cursory efforts

 on the part of post-conviction counsel produced testimony and evidence contradictory to the

 state’s material witnesses’ claims that he intended to cause the death of Damico Watkins or

 wielded the knife which struck the fatal blow.” (Doc. # 55, at 12.) Petitioner complains that the

 transcripts and summaries of tape recorded statements and interrogations were never compared


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 to the actual recordings for accuracy and completeness. Petitioner also points out that his

 “codefendants now accept responsibility for the death of Watkins and corroborate Petitioner’s

 assertions that he intended to fight Watkins and not to kill him, that the others were there to

 ‘watch his back’ and that codefendants Jerry Bishop and William Vandersommen ‘went

 berserk.’” (Doc. # 55, at 12-13.) Petitioner states that the State withheld this evidence “through

 disingenuous partial disclosure to his trial attorneys.” (Id., at 55.)

        Ohio State Highway Patrol lead investigator, Trooper Rick Downey, testified during

 petitioner’s postconviction hearing that every transcript of all of the interviews of the inmates

 that were conducted after the incident had been provided to defense counsel. (Tr.Vol. VIII, Tab

 1, at 258.) In its decision rejecting petitioner’s postconviction claims, the trial court undertook a

 painstaking review of the “unprecedented” open discovery that the State provided (App.Vol. V,

 at 265), and noted, among other things, that all of the inmate witnesses’ statements had been

 provided to defense counsel. (App.Vol. V, at 217.) Petitioner makes much of the fact that a

 comparison of Trooper Downey’s full investigative report to the redacted report that was

 provided to defense counsel during pretrial discovery reveals that references to certain inmates’

 statements were redacted, allegedly for security reasons, (Tr.Vol. VIII, at 262-273). The fact

 that Trooper Downey may have redacted from his investigative summary references to certain

 inmate witnesses’ statements does not change or diminish the fact that all of the inmate

 witnesses’ statements themselves were provided to defense counsel. Petitioner’s suggestion that

 the OSHP withheld exculpatory statements from petitioner’s defense counsel merely because the

 State did not call every inmate as a witness at trial is simply unjustified. Further, defense

 counsel Jon Doughty testified in a postconviction deposition that he and co-counsel James


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 Doughty reviewed all of the statements that had been provided and that he (Jon) understood that,

 to the extent that there were juvenile inmates who appeared to have made no statements, it was

 because they had seen nothing. (Tr.Vol. VIII, Tab 3, at 6-7.) The fact that the State called only

 three juvenile inmates to testify does not, in this Court’s view, establish good cause for the

 instant discovery request.

        It also bears reiterating that the state trial court, in its decision addressing petitioner’s

 postconviction claims, provided an exhaustive summary of the pretrial discovery in petitioner’s

 case. The Court will not recount that summary here, but notes that the State provided an

 abundance of statements and reports. (App.Vol. V, at 203-212.) A review of the record from

 petitioner’s postconviction proceedings, during which he had, and availed himself of, the

 opportunity for extensive factual development of the record, reveals no reasonable basis for

 believing that any statements or reports, much less exculpatory statements or reports, had been

 withheld from petitioner’s trial counsel. Moreover, petitioner has failed to advance a single

 reason to question the accuracy, authenticity, or completeness of the transcripts and summaries

 that the State provided. That being the case, petitioner’s intimations that the State withheld

 exculpatory information or that there is some reason to question the accuracy or completeness of

 the transcripts and summaries of interviews of inmate witnesses that the State did provide, are

 insufficient to establish good cause for production of the statements and reports that he requests.

 As noted above, habeas corpus “was never meant to be a fishing expedition for habeas

 petitioners to ‘explore their case in search of its existence.’” Rich v. Calderon, supra, 187 F.

 Supp. 2d at 1067 (quoting Aubut v. State of Maine, 431 F.2d 688, 689 (1st Cir. 1970)).

        The Court also reiterates its rejection as good cause petitioner’s curious suggestion that


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 after-the-fact admissions by his codefendants constitute an example of the State having withheld

 evidence that demonstrated both his codefendants’ guilt and his own innocence. None besides

 Lovejoy was willing to speak to investigators or otherwise provide statements following the

 incident. In postconviction, petitioner submitted an affidavit by Vandersommen dated February

 23, 1998 (App.Vol. IV, at 40), and a deposition of Vandersommen that took place on September

 8, 1999 (Tr.Vol. VIII, at Tab 3). Vandersommen conceded that he probably would not have

 testified had defense counsel called him during petitioner’s trial. (Id., at 55.) Petitioner also

 submitted an affidavit by James Bowling dated May 21, 1997 (App.Vol. IV, at 56), and a

 deposition of Bowling that took place on September 8, 1999 (Tr.Vol. IX, Tab 1). Bowling said

 that “maybe” he would have testified had defense counsel called him during petitioner’s trial.

 (Id., at 58.) Petitioner also submitted a statement that Phillip Wierzgac provided following his

 guilty plea on December 19, 1997 (App.Vol. IV, at 231), as well as an excerpt of testimony that

 Wierzgac provided during Bowling’s trial (App.Vol. IV, at 353). It does not appear that

 petitioner submitted in postconviction any affidavit, testimony, or statement by Bishop.

 Petitioner did submit as an exhibit a letter by Bishop to an individual named Kathy, dated

 August 30, 1996, stating, among other things, “10 niggers jump one of my friends and was going

 to jump me, so I got him first.” (App.Vol. IV, at 47.) Even assuming that this letter was in the

 possession of the State, it does not strike this Court as an example of the State withholding

 evidence that demonstrated both Bishop’s guilt and petitioner’s innocence, insofar as the

 prosecution never contended at petitioner’s trial that petitioner was the lone assailant or that

 Bishop did not also stab the victim. As for other evidence, such as statements by inmate

 witnesses, that tended to demonstrate the guilt of Vandersommen and Bishop, and/or the


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 innocence of petitioner, the Court has noted repeatedly that the State provided to petitioner’s

 defense counsel all of the statements that investigators obtained from the inmate witnesses who

 were housed in Adams A unit at the time of the incident.

        In short, petitioner does not explain, and it is not otherwise apparent to the Court, how

 the prosecution withheld statements that post-dated petitioner’s trial and were generated through

 petitioner’s own initiative. That being so, petitioner’s argument in this regard fails to establish

 good cause for his request for the statements and records set forth in his discovery motion.

                                           D. Depositions

        Finally, petitioner seeks to depose at least thirty-one people, including the prosecuting

 attorneys, an employee of the Madison County Clerk of Courts, employees of MaCI and ODRC,

 employees of OSHP, his own trial and postconviction attorneys, and numerous current or former

 inmates. Petitioner has failed to demonstrate good cause to depose any of these individuals

 because he has failed to offer anything beyond conclusory allegations–and for some, not even

 that–justifying his request.

        As good cause to depose the prosecuting attorneys in his case, including but not limited

 to Stephen J. Pronai and Daniel A. Huston, petitioner states in his memorandum in support that

 the depositions are necessary to establish facts in support of his claims that his death sentence is

 invalid and arbitrary, that his trial attorneys’ performances were deficient, and that the

 prosecution did not disclose evidence that was inconsistent with its theory or otherwise

 exculpatory. In his reply memorandum, petitioner explains that he also anticipates developing

 evidence to demonstrate that the prosecution deliberately mislead the jury during voir dire,

 opening and closing statements, and in mitigation. Petitioner does not offer any reason to


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 conclude that the prosecuting attorneys would provide the information he seeks or that such

 information would materially assist him in proving any of his constitutional claims. Further, this

 Court has noted several times in this order that petitioner has offered no reason to conclude that

 the State withheld exculpatory or conflicting evidence.

         In support of his request to depose the criminal court clerk for the Madison County Court

 of Common Pleas, petitioner states that “a question arises whether the Madison County Clerk of

 Courts destroyed various items of evidence in this matter before this case came to federal court.”

 (Doc. # 46, at 23.) Petitioner fails to offer any support for this conclusory assertion and, as such,

 he fails entirely to establish good cause to conduct this deposition.

         In an effort to demonstrate good cause to depose MaCI, ODRC, and OHSP

 personnel–i.e., C.O. Michael Browning, C.O. John Vanover, Administrative Assistant Walt

 Ashbridge, former lieutenant/C.O. Gerald Nelson, C.O. Matthew Robert Meyer, Trooper Alan

 Wheeler, Trooper Ron Nichols, Trooper Rick Downey, Criminalist Jeffrey William Turnau, and

 OSHP Sergeant Timothy Tuttle–petitioner identifies only Ashbridge and Downey by name in his

 memorandum in support and states that depositions of them will “enable petitioner to identify the

 full extent of the investigation of this offense, in order that he may fully identify all investigators,

 all investigation done, all statements obtained, all physical and trace evidence collected, and all

 potentially exculpatory evidence revealed through the investigation.” (Doc. # 46, at 23.)

 Trooper Rick Downey was the lead investigator for OSHP and Walt Ashbridge was the lead

 investigator for MaCI. This Court concludes that petitioner has failed to provide a reasoned

 basis for questioning the manner in which evidence and statements were collected, organized and

 maintained, or disclosed.


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        Petitioner goes on to argue in his reply memorandum, without identifying any of the

 proposed deponents by name, that the depositions will provide evidence in support of his defense

 that was never presented at trial or in mitigation, including evidence regarding gang activities,

 the atmosphere at MaCI in the days and weeks leading up to the murder, the knowledge of MaCI

 and ODRC staff of the volatile situation at MaCI, and the securing and preserving of physical

 evidence and statements. All of the proposed deponents set forth above testified at petitioner’s

 trial, postconviction hearing, or both. Petitioner has failed to advance a specific justification for

 obtaining any testimony beyond what the proposed deponents have already provided. See

 Sanborn v. Parker, 289 F. Supp. 2d 818, 823 (W.D. Kentucky 2003) (“An attempt simply to

 repeat the prior inquiry, without some particularized showing, is not adequate.”). Further, the

 Court has already determined that the record is sufficiently developed regarding the heart of the

 issues that petitioner seeks to prove, as evidenced, for example, by the trial court’s sentencing

 decision alone, in which the trial court explicitly recognized the gang affiliations and activities of

 the victim, petitioner, and petitioner’s codefendants/accomplices; the attempt by MaCI personnel

 to monitor those activities; and the “volatile mix” present at MaCI in the days and weeks leading

 up to the incident. (App.Vol. V, at 198-99.) Further, as noted immediately above and also

 throughout this order, petitioner has advanced no substantial reason for questioning the manner

 in which evidence and statements were collected, maintained and organized, or disclosed.

        In an effort to demonstrate good cause to depose his trial attorneys, James and Jon

 Doughty, as well as his postconviction attorneys, John J. Gideon and Cordelia A. Glenn,

 petitioner states in his reply memorandum that, contrary to findings made by the trial court in its

 decision rejecting petitioner’s postconviction claims, no strategic reasons existed that would


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 justify trial counsel’s perfunctory performance on petitioner’s behalf. James and Jon Doughty

 testified during petitioner’s postconviction hearing. Additionally, the State deposed Jon

 Doughty in connection with petitioner’s postconviction proceedings. Petitioner has failed to

 establish good cause to secure testimony beyond what his trial attorneys have already provided

 regarding their investigation, preparation, and implementation of strategies for the trial and

 mitigation phases of the trial. See Sanborn v. Parker, supra, 289 F. Supp. 2d at 823 (finding no

 good cause where petitioner sought “to do nothing more than engage in ill-defined, open-ended

 discovery in the hope he might elicit a different response from this particular witness with

 questions posed by different counsel.”). James Doughty is now deceased and, to the extent that

 Jon Doughty could not recall information about petitioner’s trial or the investigation and

 strategies that trial counsel pursued, it is unlikely that the passage of time would enhance his

 recollection.

        Petitioner seeks to depose his postconviction attorneys in an effort to demonstrate their

 inability to obtain exculpatory evidence, their frustrations with the process limiting access to

 evidence, the limitations of issues available to them in postconviction due to the ineffectiveness

 of petitioner’s attorneys on direct appeal, and the alleged wholesale abandonment of petitioner

 by one of his postconviction attorneys, John J. Gideon, due to this counsel’s failure to appeal the

 decision by the trial court rejecting petitioner’s postconviction claims. Petitioner has failed to

 demonstrate good cause for these depositions because, in short, he can establish nothing through

 these depositions that would assist him in proving either that he is entitled to relief on any

 constitutional claims or that he can satisfy the “actual innocence” exception for reviewing claims

 that would otherwise be barred by procedural default.


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        Petitioner also seeks to depose a number of current or former inmates, including his

 codefendants/accomplices, but beyond offering a laundry list of claims in his reply memorandum

 that would allegedly be bolstered by the depositions (Doc. # 55, at 14), petitioner does not

 advance a single justification for the depositions of any of the named individuals. Regarding his

 request to depose his codefendants/accomplices, petitioner provided in postconviction affidavits

 and deposition testimony from codefendants/accomplices James R. Bowling and William

 Vandersommen. He also submitted in postconviction a statement that codefendant Phillip

 Wierzgac provided following his own guilty plea, as well as an excerpt of testimony that

 Wierzgac then provided during the trial of James Bowling. Petitioner did not submit in

 postconviction any direct statements, affidavits, or testimony by codefendants Jerry Bishop or

 David Lovejoy. Petitioner has not offered any justification for deposing Bowling and

 Vandersommen again, or deposing Wierzgac, Bishop, and Lovejoy for the first time now. Rule

 6 and relevant case law place the burden for demonstrating good cause on the movant and

 petitioner has failed to carry that burden.

        Petitioner also seeks, without a single word of explanation, to depose Prentiss Williams,

 John McDermott, David Hicks, Dough Haggerty, Alfonso Greer, Andre Wright, Sidney Taylor,

 Roman Ward, and Brandon Hill–all of whom were juvenile inmates housed in the Adams A unit

 at the time of the murder. Greer, Wright, and Taylor testified against petitioner at his trial, and

 petitioner called Haggerty as a defense witness during trial; in his postconviction proceedings,

 petitioner submitted an affidavit and deposition testimony of David Hicks, an excerpt of

 testimony by Brandon Hill from Bishop’s trial, and a transcript of Hill’s statement to Trooper

 Long following the incident. Of the other current or former inmates whom petitioner seeks to


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 depose, two are of particular interest to the Court because of petitioner’s failure to offer even one

 word of explanation as to what they might have to offer. Prentiss Williams and John McDermott

 were cellmates in the Adams A unit at the time of the incident. They did not testify at

 petitioner’s trial. During his state postconviction proceedings, petitioner did not provide any

 statements by them or call them to testify at his hearing. The trial court, in its exhaustive

 summary of statements taken from the juvenile inmate witnesses, made no mention of them.

 Petitioner obviously has a reason for wanting to depose these individuals, but he has failed

 entirely to explain that reason. That being so, he has not demonstrated good cause to depose

 them.

                                           V. Conclusion

         In conclusion, the Court is constrained to DENY petitioner’s motion for leave to conduct

 discovery (Doc. # 46). In so doing, the Court has carefully considered not only petitioner’s

 motion, memorandum in support, and reply memorandum, but also the habeas petition, the

 appendix and transcript volumes, and the Court’s previous rulings. In death penalty habeas

 corpus cases such as this, the Court would prefer to err on the side of gathering too much

 information, rather than too little. But this Court’s preference is not without limitations. It bears

 reminding that habeas corpus litigants, even those sentenced to death, are not entitled to

 discovery as a matter of course and must, instead, demonstrate good cause by “point[ing] to

 specific evidence that might be discovered that would support his constitutional claims....”

 Burns v. Lafler, 328 F. Supp. 2d 711, 718 (E.D. Mich. 2004) (citing Marshall v. Hendricks, 103

 F. Supp. 2d 749, 760 (D.N.J. 2000), rev’d in part on other grounds, 307 F.3d 36 (3rd Cir. 2002)).

 Petitioner failed to meet this burden. Petitioner stated throughout his memorandum in support


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 and reply memorandum that this Court’s previous rulings–specifically those issued on September

 30, 2005, and February 10, 2006, relating to procedural default–invited and anticipated

 discovery. But nothing in those rulings can reasonably be construed as holding that petitioner

 does not need to demonstrate good cause for the expansive discovery that he seeks, or that he has

 already done so.

         Simultaneously with filing his motion for discovery, petitioner also filed an ex parte

 motion for funds for investigative/expert assistance. Petitioner acknowledged in his reply

 memorandum his filing of that motion, (Doc. # 55, at 11 n.4), but because that motion was filed

 ex parte, the Court will not discuss it further herein. It is sufficient for purposes of the instant

 discovery motion to note that the Court is inclined to grant petitioner’s ex parte motion and that,

 if warranted and filed within a reasonable period, the Court would be willing to entertain a

 subsequent good faith motion for discovery. The Court will address in a separate order the

 motions that petitioner filed ex parte. The Court will address in its final opinion and order on the

 merits any unresolved issues concerning petitioner’s ability to demonstrate the cause-and-

 prejudice and/or actual innocence exceptions to procedural default.

         For the foregoing reasons, petitioner’s first motion for discovery (Doc. # 46) is DENIED.

 In accordance with the December 22, 2004, Scheduling Order (Doc.# 22), the Court will

 convene a status conference to establish a new briefing schedule and address any other issues

 that might be necessary.


                                                                  /s/ Gregory L. Frost
                                                                 GREGORY L. FROST
                                                                 United States District Judge




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